Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77920 Filed 05/19/23 Page 1 of 41




             EXHIBIT 3
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77921 Filed 05/19/23 Page 2 of 41




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


                                           Civil Action No. 5:16-cv-10444-JEL-
                                           MKM (consolidated)
      In re Flint Water Cases
                                           Hon. Judith E. Levy
                                           Mag. Mona K. Majzoub



      Elnora Carthan, et al. v. Governor   Civil Action No. 5:16-cv-10444-JEL-
      Rick Snyder, et al.                  MKM



        REBUTTAL DECLARATION OF CLIFFORD P. WEISEL, M.S., Ph.D.
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77922 Filed 05/19/23 Page 3 of 41




                                                 TABLE OF CONTENTS

      I. INTRODUCTION ................................................................................................ 1
      II. REBUTTAL RESPONSES .................................................................................. 3
          1. Applicability of My Opinions to the Class Period of February 10, 2015
             through October 16, 2015. .............................................................................. 3
          2. Further Response to Dr. Finley....................................................................... 5
          3. Response to Declaration by Dr. Roy. ............................................................. 9
          4.                                                                                        ............................. 10
          5. Industrial Source Discharges. ....................................................................... 15
          6.                                                                                                         ............ 19
          7. Issues with the Regression Analysis for the Hypothesized WLLs and
             BLLs Performed by Dr. Roy......................................................................... 20
          8. Response to Dr. Greenberg........................................................................... 30
      III. CONCLUSION ................................................................................................. 33
      Citations................................................................................................................... 34




                                                                     i
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77923 Filed 05/19/23 Page 4 of 41




      I. INTRODUCTION

      I, Clifford P. Weisel, M.S., Ph.D., state and declare as follows:

          1. I submit this Rebuttal Declaration in response to reports that have been

             presented as proposed expert opinions offered by the Veolia and LAN

             Defendants in this case (specifically, the reports of Drs. Finley, Roy, and

             Greenberg)1,2 and in further support of the opinions presented in my expert

             declaration of October 14, 2022 and my deposition testimony concerning the

             same.

          2. In my October declaration, I presented four primary opinions:

                a. My opinion is that persons who are currently adults and consumed

                     unfiltered tap water over a period of at least 90 days in Flint at

                     homes, recreational facilities, workplaces, restaurants, and schools


      1
        In this declaration, I address the primary criticisms presented by the Defense
      reports that responded to my initial report. However, the Defense reports totaled
      several hundred pages and the materials upon which those reports were based were
      not contemporaneously produced. Failure to rebut all statements proffered by the
      Defendants in their voluminous reports is not an indication that I agree with those
      statements not specifically addressed.
      2
       At the time my rebuttal declaration was served in this case, October 18, 2022, there
      were nine questions certified for trial by the Court. Shortly thereafter, on October
      26, 2022, it is my understanding that the certified questions were condensed and

      conditions allegedly caused by Defendants capable of causing harm to Flint

      water conditions capable of causing harm to Flint residents, properties, and
                                                 on my original analysis, nor any of the
      conclusions presented in my prior reports.
                                               1
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77924 Filed 05/19/23 Page 5 of 41




                 between April 25, 2014 and October 16, 2015 ingested increased



                 Flint River.

              b. It is my opinion that the failure to use appropriate corrosion control

                 treatment when or shortly after the water source for Flint was

                 switched on April 25, 2014 caused a disruption of the protective layer

                 on the surface of pipes and plumbing fittings and fixtures resulting in

                 soluble and particulate lead in the tap water in homes, recreational

                 facilities, workplaces, restaurants, and schools.

              c. It is my opinion that homes, recreational facilities, workplaces,

                 restaurants, and schools that had lead service lines, galvanized steel

                 service lines with connectors containing lead, or interior plumbing

                 that had lead solder or other lead containing fittings and fixtures (i.e.

                 structures built prior to 1986 that did not have complete plumbing

                 upgrades) would have increased lead in their tap water because of the

                 corrosivity of the water resulting from the change of water source on

                 April 25, 2014.

              d. It is my opinion that water lead levels were elevated in Flint between

                 May 1, 2014 and October 16, 2015 in homes, recreational facilities,

                 workplaces, restaurants, and schools if they had service lines or

                                              2
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77925 Filed 05/19/23 Page 6 of 41




                   interior plumbing whose properties make them a likely source of lead.

                   Further, that opinion would be true even if a single or small number

                   of water samples collected in those buildings measured below the lead

                   minimum reporting limit since water lead levels vary with time and

                   depend upon the sampling conditions used.


      II. REBUTTAL RESPONSES

         1. Applicability of My Opinions to the Class Period of February 10, 2015
            through October 16, 2015.
            In my initial report, I provided the opinions summarized above for the full

      class period and specifically opined that water lead levels were elevated in Flint

                                                                          proposed experts

      critique this finding with respect to the shorter duration of time associated with



      October 16, 2015. (See, e.g., Finley Report at p. 39). Additionally, Dr. Roy suggests,

                                                       quarters of the extra lead release to

      water captured in biosolids during the water crisis versus an identical 18-month

      period before the water crisis, occurred during June-                        See Roy

      Report at p. 12).

            My opinions finding exposure to elevated levels of lead in Flint water remain

      valid for the narrower period of February 10, 2015 through October 16, 2015 (the


                                                3
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77926 Filed 05/19/23 Page 7 of 41




      Veolia period).

      water supply resulting from switching the source water from the Detroit water

      system to the Flint River on April 25, 2014 remained applicable during the Veolia

      period. These changes caused lead to be released from the lead service lines,

      galvanized service lines, and from indoor plumbing fixtures containing lead.




              The delay in switching back to Detroit (Huron Lake source) water and

      boosting orthophosphate dosing until after October 2015, resulted in continued

      excess lead being released into the tap water of households and other locations in

      Flint during this time period, and therefore exposure to those residents who

      consumed unfiltered tap water there. This is evident from the results reported by

      Pieper et al. 2018 (their Table S1) where the median 1st draw WLL measured across

      268 homes was 3.5µL in August 2015, while Flint River water was still being used,

      compared to 1.9 µL, a 50% decline, across 186 homes in March 2016 and 1.2µg/L,

      a three-fold decline across 176 homes in July 2016.3 The 90th percentile Water Lead


      3
          Pieper, K.J., R. Martin, M. Tang, L. Walters, J. Parks, S. Roy, C. Devine and M.A.

      Environmental science & technology 52(15): 8124, at 8125.
                                            4
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77927 Filed 05/19/23 Page 8 of 41




      Level in August 2015 was 26.8 µg/L and by July 2016, had declined by 43% to 15.1

      µg/L. Thus, delaying the switch back to a Lake Huron water source and use of

      adequate organophosphate during the Veolia period of February 10, 2015 through

      October 16, 2015 resulted in additional lead exposure to individuals who consumed

      Flint tap water during that time period.


         2. Further Response to Dr. Finley.

                                                             In fact, detectable WLLs were



      not correct. The figure provided by Finley from Roy and Edwards (2020) are

      hypothesized 90th % Water Lead Levels back-calculated from Biosolids-Pb and not

      measured detectable WLL concentrations from tap water in homes in Flint. There

      was no measurably detected lead in water lead levels in Flint from the years 2008

      through the period immediately prior to the switchover (Aug-14-2019

      EGLE002604). The potential problems with the approach used by Roy et al. (2018)

      and Roy and Edwards (2020) to estimate WLL90 levels from Biosolids-Pb are

      discussed in detail in response to the Roy declaration.

      characterization of these estimates as actual detected water lead levels from the taps

      of the homes of people in Flint is misleading.

            Further, issues have been raised with the home selection and how the LCR

      samples were collected by the City of Flint in 2008, 2011 and 2014-15 which would

                                                 5
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77928 Filed 05/19/23 Page 9 of 41




      have resulted in them being biased low. Roy et al. (2019) indicated that the LCR

      samples collected by the Flint water authority in 2014-2015 did not follow EPA

      protocols by preflushing the homes the evening before the 6-hour stagnation time

      and using small mouth bottles. 4 Even with the sampling protocol deviations, the

      majority of the LCR samples collected in 2014-2015 had Water Lead Levels above

      the detection limit, including six of the eleven homes that had been sampled in 2008

      and/or 2011. This indicates that measurable WLL can be obtained using the

      sampling protocols followed, though the levels were likely lower than if the LCR

      protocols were followed.

            The increased leaching from the service lines and indoor plumbing due to the

      corrosivity of the water during 2014-2015 is, more likely than not, the reason for

      homes to have measurable lead values in the Flint LCR samples while those in 2008

      and 2011 did not. If similar corrosive water was present in the pre-event samples

      taken by the City of Flint in 2008 and 2011, provided the same sampling protocols

      were used as in 2014-15, one would have expected measurable lead levels in those

      LCR samples as well.

            Dr. Georgopoulo                 predicts incremental increases in blood lead

      levels ( BLL ) for increases in the WLL due to the corrosivity of the Flint water and

      4
        Roy, S., Tang, M., and Edwards, M.A., (2019) Lead release to potable water during
      the Flint, Michigan water crisis as revealed by routine biosolids monitoring data,
      Water Research, 160, 475-483.
                                               6
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77929 Filed 05/19/23 Page 10 of 41




      not the actual BLL for any specific individual. Thus, if the pre-changeover WLL

      were actually higher, than 1 µg/L, the calculated increased BLL for increased WLL

      present in the post-changeover Flint water would still be additive to a higher baseline

      BLL. (See, e.g., Rebuttal Declaration of Howard Hu, M.D., M.P.H., Sc.D.; p. 20-21;

      March 25, 2021).

            In neither my declaration nor my deposition was the water in the years

      immediately prior to the changeover referred to as pristine , as indicated by Finley

      on page 22. Rather it was stated that the only water samples collected for lead

      measurements identified for the years immediately prior to the switchover were the

      City of Flint LCR water samples collected in 2008 and 2011, and that all of those

      samples reported no detectible WLL (Aug-14-2019 EGLE0002604). In the absence

      of other data, these were selected as the baseline water concentration prior to the

      switchover for calculating the change in blood lead levels that would be associated

      with increases in Water Lead Levels across the range reported for Flint after the

      switchover.

            Independent of the WLL levels being below the detection limit or at a higher

      value, the corrosivity of the water due to the switchover caused lead to be released

      from lead and galvanized service lines and indoor plumbing containing lead. This

      would increase the WLL at those homes and other locations compared to their pre-

      changeover WLL, and for those ingesting that water higher lead ingestion exposures

                                                7
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77930 Filed 05/19/23 Page 11 of 41




      after April 2014, including during the narrower Veolia time period. The ingestion of

      that water would lead to increased blood lead levels for those individuals, compared

      to the levels expected if the switchover had not occurred or if steps had been taken

      sooner to reduce the water s corrosivity and/or warn the community not to drink the

      water. The blood lead increase would depend upon how much additional lead was

      in the Flint water and the volume and duration of water consumption, as indicated

      in the declaration of Dr. Georgopoulos.

            As explained above, the statement on page 21                               that

       detectable WLLs were present in tap water in home throughout Flint for years

      before the switchover is not correct. Dr. Finley does not cite any data source that

      reported water lead levels in the years immediately preceding the Flint water crisis.

      Rather he refers to levels that were estimated, based on Biosolids-Pb measurements

      that were used to back-calculate hypothesized WLL90 (90th percentile) of between

      15 and 30 µg/L. There were no reported detectable levels of lead for any home that

      was sampled in the two sets of LCR measurements in the years prior to the

      switchover (2008 and 2011). See, Aug-14-2019 EGLE002604. As will be described

      in the following subsection, when discussing the expert report of Dr. Roy, there are

      several issues with the estimated WLL90 from the Biosolids-Pb and those estimated

      WLL90 were biased high.



                                                8
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77931 Filed 05/19/23 Page 12 of 41




         3. Response to Declaration by Dr. Roy.

            Dr. Roy indicated that the two papers he co-authored were subject to Peer

      Review and described the Peer Review process. That process is used to determine

      the suitability of a paper to be published in a journal. This is done by the



      scope of the journal, adds to the scientific knowledge, uses acceptable methodology,

      and provides a plausible explanation for the results it portrays. However, peer review

      does not guarantee that the results are valid, or the best explanation of the

      phenomenon being studied. Peer review studies interpretation may change upon

      further evaluation, as additional information becomes available or further studies are

      done. When a peer review study reports a novel hypothesis and methodological

      approach, as Roy and his co-authors claim for their use of routine lead measurements

      in biosolids to estimate lead water levels in homes, it is typical that additional

      scientific studies are done before the reported approach and results are considered

      definitive. To assess whether the methodology employed by Roy has been

      replicated, I reviewed the literature cited in those two articles on 2/13/23. None of

      those scientific papers reproduced the proposed methodology of using routine metal

      analysis in biosolid waste to estimate metal drinking water concentrations. Thus, the

      proposed methodology has yet to be replicated at other locations, though the initial

      paper has only been published slightly more than three years ago, so additional


                                                9
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77932 Filed 05/19/23 Page 13 of 41




      research using this approach may not have been completed or published. In my

      review of                           papers, I have identified several statements and

      analyses that suggest the estimated WLL90 that Roy hypothesizes, including for the

      years immediately prior to the Flint water crisis, are biased high and that there is

      greater uncertainty in their estimates than indicated in the paper. The reasons for this

      are outlined in the following subsections.

              First, i                                                               . (2019)

      paper and states that there are five limitations to using the lead amounts in biosolids

      to estimate the Water Lead Levels in Flint. He suggests that none of those limitations

      existed for the Flint sewage system. Two of those limitations, which he says did not

      exist in              combined sewer systems that transport both urban runoff (e.g.,

      from rainfall or hydrant flushing) and domestic wastewater , and e) significant




         4.                                                       System.
              For limitation d) combined sewer systems that transport both urban runoff

      (e.g., from rainfall or hydrant flushing) and domestic wastewater the paper by Roy

      et al. (2019) cites several sources to support the stipulation that In terms of possible

      confounding factors, the stormwater in Flint is not discharged to sewers, reducing

      the likelihood that surface water runoff or hydrant flushing of water would influence

      the results . A                                                                opposed

                                                10
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77933 Filed 05/19/23 Page 14 of 41




      stormwater infiltrates significantly into the sanitary sewer system in Flint. A review

      of annual MDEQ (or EGLE) reports of sanitary sewer overflows (SSOs) records

      that, in some years, Flint leads the state in the volume of sanitary sewer overflows

      of combined sanitary and raw sewage that are discharged directly to the Flint River.

      A summary of those annual events is collected at Exhibit 1 to my report. The

      infiltration of large volumes of stormwater, and the variability of large precipitation

      events from year to year can affect the variability and reliability of the Biosolids-Pb

      measurements that are used by Roy to back-calculate estimated lead levels in

      drinking water.

               The reports summarized in Exhibit 1 indicate that while Flint, MI does not

      operate a combined sewer, since it has separate sanitary sewer (domestic) waste and

      storm water lines, it has experienced sanitary sewer overflows (SSOs) and under

      heavy wet conditions water from the storm water lines or from infiltration and inflow

      (I&I) combine with the sanitary sewer flow at the treatment plant. The variability in

      SSOs from year to year can impact the biosolids produced at the waste treatment

      plant.

                                                                               . Rather the

      stormwater infiltration and inflow into sanitary sewers contribute to the biosolids

      mass and potentially the lead in the biosolids and will impact the temporal variability

                                                11
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77934 Filed 05/19/23 Page 15 of 41




      of biosolids. Thus, this data source does not confidently predict WLL in Flint water

      system.

            Additional reports that discuss the presence of Sanitary Sewer Overflows in

      Flint include:

            a) www.cityofflint.com/wp-content/uploads/2022/07/5696-01-EA-Flint-w-
               map-4-29-2020-1.pdf

            This report indicates that while Flint, MI has separate wastewater flows and

                                                                     w contribution to the

      collection system and WPCF (water pollution control facility) for treatment

      particularly during wet weather events. The WPCF is located in the northeast corner

      of Flint Township at the corner of Beecher Road and Linden Road.       Wet weather

      event can increase flow to WPCF in excess of 9 MGD (million gallons per day)

      which results in storage of wastewater in the RTB (retention treatment basin) and

      the deep sewer tunnel connected to the EPS (east pump station)              PCF is

      where the treatment of the sewage is done, which includes solid handling. In

      addition, the Flint wastewater treatment system is a regional system that accepts

      sewage flow from neighboring townships and cities. Thus, the lead concentration in

      the biosolids can be impacted by wastewater from townships other than Flint, which

      was not accounted for in the paper by Roy et al. (2019) or Roy and Edwards (2020).

      This report also indicates that               water Treatment Systems have been

      altered on several occasions over the last decade. In 2020, a series of improvements
                                              12
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77935 Filed 05/19/23 Page 16 of 41




      to the Flint Wastewater Treatment System were proposed to deal with treating water

      for heavy wet events, along with other modifications to the treatment facility,

      indicative that SSOs were a known problem in Flint when Roy et al. published their

      paper. The report also states that there were changes in how the Flint WWTP

      biosolids were processed at the facility starting in 2016. These modifications

      included construction of a new solids loading facility in 2016 to move the solids into

      trucks. It is not indicated whether this modification affected the dewatering and

      drying of the sewage, which could also alter the reported lead concentration in the

      biosolids over time.


            b) https://www.cityofflint.com/water-pollution-control/

            The City of Flint Water Pollution Control (WPC) web page includes the

      statement: When it rains, much additional flow may reach the plant. WPC has the

      ability to hold about 20 million gallons of the excess water temporarily in a large

      storage basin. However, once the tank is full, the excess flows must be discharged.

      Before this water is discharged, excess flows are settled and disinfected with a

      bleach solution. All water discharged must be checked for quality and meet rigorous

      standards set and enforced by the Michigan Department of Environmental Quality

                                                            These statements indicate that

      under heavy rain conditions the storm water is treated in the same facility as the

      domestic sewage material contributing to the biosolids. The website also indicated
                                               13
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77936 Filed 05/19/23 Page 17 of 41




      that in 2009 the treatment process for the solids began to incorporate a reduction of

      sludge volume by implementation of an anaerobic digestion process, and a second

      change was initiated in 2015 whereby the water pollution control shifted from

      dewatering and incinerating the biosolids in favor of landfilling. Depending on when

      in the process the biosolid samples were collected for metal analyses, the reported

      lead concentrations on a per weight basis and mass of biosolids would differ as these

      different disposal and treatment processes were implemented. How these changes

      affect the lead measurements are not discussed by Roy in his papers or declaration,

      rather there is the inherent assumption in that paper that the treatment, collection,

      and measurement of lead in the biosolids did not change over the time period being

      considered.


            c) https://docslib.org/doc/6441486/michigan-department-of-environmental-
                quality

            The Michigan Department of Environmental Water Quality, Combined Sewer

      Overflow (CSO), Sanitary Sewer (SSO) and Retention Treatment Basin (RTB)

      Discharge 2013 Annual Report (January 1, 2013        December 31, 2013, page 26)

      indicates that Flint had 335.9 Million Gallons of Total Volume of Sanitary Sewer

      Overflow (SSO) over 5 events in 2013, the most of any facility reported in the state.

      These overflows are related to wet events where the storm water flow combines with

      the sanitary or domestic sewer flow.


                                               14
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77937 Filed 05/19/23 Page 18 of 41




             The Roy et al. (2019) paper acknowledges that the lead peak in the calculated

      WLL90 April/May - 2011 coincided with a heavy rain event which could affect the

                                                           We speculate that this anomaly

      may have somehow been linked to treatment upsets or other events during record

      Detroit rainfall, which was national news in that exact time period (Bienkowski,

      2013    The monthly averages for April and May 2011 were 5.47 and 7.61 inches

      (https://www.weather.gov/wrh/Climate?wfo=dtx). May 2014, another month with

      high lead levels in the biosolids, also had a high monthly rainfall of 7.21 inches.

      Thus, variations in rainfall needs to be considered when interpreting the lead biosolid

      data, which was not done by Roy.


         5. Industrial Source Discharges.

             Roy also identifies as one of the limitations to his biosolids methodology

                            significant presence of lead and heavy metals in effluents

      discharged by industry                                            Flint. (Roy Report,

      ¶¶24 and 26). Roy apparently ignores this issue based upon communications with

      City of Flint WWTP Supervisor Robert Case. See, Roy et al. (2019) citing Case, R.,

      2018. Personal Communication with Robert Case, City of Flint WWTP Supervisor

      on Jul 2, 2018 and Dec 3, 2018. Roy relies upon these personal communications to

      say,



                                                15
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77938 Filed 05/19/23 Page 19 of 41




      personal communication. However, in documents produced by Virginia Tech,




      These emails indicate that Robert Case suggests a measurable portion of the

      biosolids and possibly lead is from manufacturing, which is different from what is

      quoted by Roy et al. (2019).

            The largest industry in Flint is General Motors (GM), which has three plants:

      GM Flint Assembly Plant, GM New Body Shop, and GM Flint Engine Operations.

      Operations at these facilities have been subject to significant variations over the

                                              16
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77939 Filed 05/19/23 Page 20 of 41




      period of time addressed by Roy. The Assembly Plant produces GM trucks. A new

      paint shop was added in the beginning in 2014 and completed in 2016 at a cost of

      $79   million   and    encompassed       a     1.5     million   square    foot   building.

      (www.mlive.com/news/flint/2017/10/general_motors_invests_79m_for.html). The

      GM New body shop consists of an 883,383 square foot facility, that was constructed

      in 2016-2018 with connections to the Metal Center at a cost of $877 million.

      (www.freep.com/story/money/cars/2015/08/04/gm-invest-877m-new-body-shop-

      flint-truck/31097717/).

            The GM Engine Operation plant produces engine platforms for small gas

      engines and turbo diesel engines. In 2011, $84 million was invested to expand

      production of 1.4 L engines; in 2013, $215 million for the new Ecotec gasoline

      engine;   and     in      2015,   $263       million     for     a   new    engine     line

      (https://gmauthority.com/blog/gm/gm-facilities/gm-usa-facilities/gm-flint-engine-

      plant-flint-michigan-usa/).

            According to water billing records, the GM plants use an average of 722

      hundred cubic feet (CCF) of water daily (Michigan Department of Environmental

      Quality, Water Reliability Study, City of Flint Draft April 27, 2016,

      COF_FED_0365479), which is approximately 7% of the total water billed by the

      Flint Water system. The processes at GM facilities contribute to the waste stream

      and would be expected to contain lead from the metal parts being processed. In 2010,

                                                   17
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77940 Filed 05/19/23 Page 21 of 41




      GM had a Pollutant Discharge Limit for how much lead could be contained in its

      discharge to the City of Flint sanitary sewage system of 0.107 mg/L (Revised Sewer

      Use Permit # 1-05-12-04-C011. GM000000179). Since different facilities were

      brought online at different times and the number of vehicles or engines produced are

      expected to vary within and over the course of years, the industrial contribution of

      water used and disposed through the sanitary sewer system by the GM facilities can

      be expected to vary over time.

            Several months after the 2014 water switch, General Motors stopped using

      Flint river-sourced water due to its high corrosivity which corroded the engine parts

      produced at the GM plant. GM could not overcome the corrosivity of the water with

      an expensive reverse osmosis system added to purify the water or by trucking in

      water to dilute the chloride levels. This changed the potential lead release by GM

      into the sanitary sewer system, with higher levels expected starting after the April

      2014 switchover, when the higher corrosivity water began in the Flint water system.

      In October 2014, GM reached an agreement with the town of Flint to switch from

      Flint water back to a Lake Huron water source. However, GM "noticed it some time

      ago (and) the discussions have been going on for some time." (i.e. that the water was

      found to corrode their metal parts and possibly altered the production at the plant

      as well as the amount of effluent to the waste stream prior to October 2014 when

      GM switched away from Flint water.)

                                               18
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77941 Filed 05/19/23 Page 22 of 41




      (https://www.mlive.com/news/flint/2014/10/general_motors_wont_use_flint.html).

               The problems associated with the more corrosive water would likely have

      altered the metals content in the discharge effluent by GM between April and

      October 2014 and the release of lead in the wastewater from GM facilities

      contributing to the peak shown in Figure 1 of Roy et al. (2019). Yet this change in




         6. Criminal D



      industrial wastes int                             As one example, an additional non-

      residential source to the sanitary sewage system was illegal dumping of wastes by

      Oil Chem, Inc. The company owner plead guilty to discharging oily industrial

      wastewaters and landfill leachate into the sanity sewer between January 2007 and

      October 2015. The company processed more than 47 million gallons of leachate over

      this time period which was routinely directed to the sanity sewer system and

      discharged                                                      Works). (Finley Dep.,

      Ex. 10). This source of solids and lead was not accounted for by Roy et al. (2019).

               Thus, the limitation of not having industrial sources that were variable is not

      valid.




                                                 19
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77942 Filed 05/19/23 Page 23 of 41




         7. Issues with the Regression Analysis for the Hypothesized WLLs and
            BLLs Performed by Dr. Roy.

               A major conclusion of Roy et al. (2019)            report is that the WLL90

      values can be estimated from Biosolid-Pb content. This was done by fitting 5 pairs

      of data points of monthly cumulative Biosolid-Pb (kg) with the average of the

      WLL90 levels from 1st, 2nd and 3rd draw samples collected as part of a citizen science

      collaboration in August 2015, March 2016, July 2016, November 2016, and August

      2017, offset by one month (Figure 2, Roy et al. (2019)). The one-month offset was

      selected to account for the two-week retention time of biosolids in the treatment

      plant.                                                         linear correlation, with

      an equation of Biosolids-Pb(kg)=0.483xWLL90(µg/L)+1.79 and an R2=0.86.

      However, a linear regression and correlation based on only 5 data points (an n=5) is

      statistically suspect. Scientifically, it is recommended for data with a high variance,

      which these data have, that at least 25 to 30 data points should be used when

      calculating a regression and correlation. Even data with well controlled data sets and

      low variances, should use at least 8 data points. (Fraenkel, J. R., & Wallen, N. E.

      (2008). How to design and evaluate research in education. (7th ed.); and Jenkins and

      Quintana-

      February 21, 2020 https://doi.org/10.1371/journal.pone.0229345). The regression

      analysis done by Roy et al. (2019) does not follow these scientific statistical

      guidelines. Regressions using very small sample sizes (typically between 3-6 data
                                                20
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77943 Filed 05/19/23 Page 24 of 41




      points, as is the case here) can result in a false positive relationship with a high R2.

      Further, regression equations based on very small data sets are weighted to the

      largest value(s) and result in high uncertainty in predicting the dependent variable

      (WLL90) at lower values of the independent variable (Biosolid-Pb(kg)).

            In addition to not following good scientific, statistical principles, the shape of

      the actual data points does not visually appear to be a single linear line, though the

      low number of data points presents difficulty in determining the true shape of the

      curve. The apparent flattening of the curve at the lower values would result in a large

      uncertainty when estimating values near the lower limit of the regression line. For

      these data, the two lowest data points have WLL90 values of 4.7 and 5.3 µg/L, a

      12% difference, while the Biosolid-Pb values are 3.1 and 4.5 kg, a 37% difference.

      For a true linear association, the percent differences should be the same. When the

      trend line from Figure 2 in the Roy et al. (2019) paper is extended to the x-axis, as

      shown below, it appears to have an x intercept of 1.0 not the 1.79 in the regression




                                                21
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77944 Filed 05/19/23 Page 25 of 41




      equation. When I used Excel to examine these data, the trend line equation produced

      by Excel for the figure was WLL90(µg/L)=1.78xBiosolid-Pb(kg)-1.93, which is

      equivalent to Biosolids-Pb(kg)=0.56WLL90(µg/L)+1.08, giving the intercept for the

      trend line observed. When I ran the regression by switching WLL90(µg/L) to the x-

      axis as the independent variable and Biosolid-Pb(kg) to the y-axis as the dependent

      variable, the equation generated by Excel for the trend line is as reported in Roy et

      al. (2019) of Biosolids-Pb(kg)=0.482xWLL90+1.79. The reason for the difference

      in the regression equations depending upon which variable is assigned to the x or

      independent variable and which the y or the dependent variable is that the data do

      not fit a linear relationship. Thus, using the linear regression given in Roy et al.

      (2019) to predict WLL90 values from the monthly cumulative lead in biosolids is

      not correct.

             The paper by Roy and Edwards (2020) gives a different regression equation

      of Biosolids-Pb(kg)=0.37xWLL90(µg/L)+1.41, without providing the R2 or the

      number of data points used to determine that regression. This regression was

      calculated using the average of the 1st draw and the 1-minute flush instead of the

      average of the 1st draw, 1 minute flush and 2-minute flush. It is unclear whether

      additional data beyond the five sampling points used by Roy et al. (2019) (based on

      Pieper et al. (2018)) were used. When I calculated the five-point regression fit based

      on the 1st draw and 1-minute flush data from Pieper et al. (2018), the regression

                                               22
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77945 Filed 05/19/23 Page 26 of 41




      equation using Biosolids-Pb(kg) as the x or independent variable and WLL90 as the

      y or dependent variable was Biosolids-Pb(kg)=0.42xWLL90(µg/L)+1.25, with the

      data again not visually fitting a straight line. The equation from the Roy and Edwards

      (2020) paper of Biosolids-Pb(kg)=0.37xWLL90(µg/L)+1.90 was obtained by

      switching the variable, indicative that regression they generated was using just the 5

      original data points even though they now had more data available. Again, using the

      linear regression for these data in the Roy and Edward (2020) paper is not correct.

            These regression lines were also used to estimate the non-residential water

      contributions to the lead based on the x-intercept of the line (i.e. the Biosolids-Pb

      value when the WLL90 equals zero) (Roy et al. (2019) and Roy and Edwards

      (2020)). Besides the issues discussed in the previous paragraph, the estimate, of 1.79

      Biosolids-Pb (kg) has a number of assumptions that increase its uncertainty. First,

      the WLL90 measurements were offset from the biosolid measurements by one

      month, to account for a biosolids retention time at the plant of approximately two

      weeks. While the biosolids were scheduled to be collected early in the month, with

      77% between the 1st and the 6th of the month, it was not indicated whether, for the

      five months that were used, they were collected in the beginning of the month or at

      a different time of the month. Similarly, the time period during each month when the

      water samples were collected is not specified. Thus, it is not known if the one-month

      lag used was appropriate for these five sample pairs to be approximately two weeks

                                               23
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77946 Filed 05/19/23 Page 27 of 41




      apart, as suggested by the resident time of the biosolids in the facility reported in

      Roy et al. (2019).

            Not matching the WLL90 values and monthly Biosolid-Pb levels correctly

      will greatly affect the regression calculated and the R2 fit since the monthly Biosolid-

      Pb levels varied greatly from month to month. For example, the August 2015,

      September 2015, and October 2015 Biosolids-Pb monthly accumulation (kg) were

      10.1, 8.48 and 5.91 kg, and for March 2016, April 2016, and May 2016 they were

      4.98, 7.82 and 7.28, indicative of how variable these values are. There is no

      discussion of the uncertainty of the predicted WLL90 from the Biosolids-Pb due to

      mismatching of those data in the Roy et al. (2019) paper or Roy            declaration.

      Presumably, the actual dates of the water samples and the biosolid composites were

      known, so a more accurate match could have been done.

            Roy et al. (2019) and Roy and Edwards (2020) stated that regression line

      intercept might represent a portion of lead loading to the sewage plant per month

                                                     , presumably from households in Flint.

      This is not correct for the regression line they generated; even if it had been correct,

      since WLL90 only includes a portion of the homes that participated in the citizen

      science project reported in Pieper et al. (2018), the 90th percentile WLL among

      homes would not include lead released from household plumbing from the majority

      of residences in Flint. As Roy and Edwards (2020) state,                     identify a

                                                24
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77947 Filed 05/19/23 Page 28 of 41




      characteristic level of water lead in worst case homes, and does not reflect average

                                                           Further, the biosolids at the Flint

      WWTP include material from residences in the surrounding communities that rely

      on the Flint sanitary sewer treatment plant for their wastes. If the regression analysis

      actually had sufficient number of data points to be statistically valid, plotting the

      Biosolids-Pb values with mean or median WLL rather than the WLL90 would

      provide a better estimate of the non-Flint plumbing contributions. For comparison

      purposes, the figure below uses the median 1st draw WLL reported by Pieper et al.

      (2018), rather than the average WLL90 of three water draws used by Roy et al.

      (2019), to calculate the Biosolids-Pb intercept when the WLL is zero, given the

      caveat that the data are not sufficiently robust to actually determine the regression

      association. These data provide an estimate of the Biosolids-Pb intercept of between

      3.9 and 6.3 kg, for the non-Flint residential plumbing sources. These estimates are

      very different from that determined by Roy et al. (2019), (1.79 kg) since that value

      did not consider contributions from the majority of homes in Flint.




                                                25
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77948 Filed 05/19/23 Page 29 of 41




                              Equation for Median WLL 1st Draw from
                                     Monthly Biosolids-Pb (kg)
                       4
                     3.5                                    Trend for 3 points >MDL
                                                            Biosolids-Pb = 0.67 median WLL+6.3
                       3
                                                                                 R2=0.96
                     2.5
                       2        Trend for 5 points
                     1.5        Biosolid-Pb = 1.7 median WLL+3.9
                       1                             R2=0.82
                     0.5
                       0
                     -0.5 0     1       2       3       4          5      6       7       8      9
                      -1
                                        Monthly cumulative lead in biosolids (kg)




            The figure shows two possible regression lines, one for just WLL values

      above the detection limit and a second that uses all five data points with the WLL

      set to zero when it was below detection. The shape of the data and R2 values are

      similar to that in Figure 2 from Roy et al. (2019). One contribution to the Biosolid-

      Pb(kg) besides the homes in the Flint is from the GM plant. The potential

      contribution of lead to the biosolids from GM, the largest industry in Flint, can be

      estimated as the product of the amount of water purchased by GM, 722 hundred

      cubic feet/day or 2,040,000 L/day (Michigan Department of Environmental Quality,

      Water Reliability Study, City of Flint Draft April 27, 2016, COF_FED_0365479)

      and the legally permitted lead concentration in the effluent of 0.107mg/L (Revised

      Sewer Use Permit # 1-05-12-04-0011. GM000000178). This gives a release of 0.22

      kg of lead/day into the sewer lines, which corresponds to 6.6 kg of lead/month. While

      this amount is at the legal limit that can be released and not a measured amount, it is
                                                       26
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77949 Filed 05/19/23 Page 30 of 41




      within the range extrapolated from the median WLL and more than three times the

      estimate used by Roy et al. (2019) and Roy and Edwards (2020) for non-Flint

      plumbing lead sources to the biosolids. That estimate does not include contributions

      from illegal dumping or storm drains, as discussed above, or from other townships

      that use the Flint Wastewater treatment plant. Therefore, assuming that all lead in

      the month biomass above the 1.79kg is from Flint household plumbing is in error.

            Another inconsistency in Roy et al. (2019) is the statement

      switch, the total mass of biosolids (dry weight basis) produced in May to July 2014

      (average = 317 metric tons) was more than twice as high as the biosolids produced

      the prior year (May 2013-Apr, 2014; average=140 metric tons), before eventually



      A visual examination of the levels of Figure S2 does show a peak in April-May 2014

      that is about twice as high as the previous year, but it is not clear what the basis of

      the latter part of their statement is. The mean amounts of biosolids produced in 2012

      and 2013 before the crisis were 133±16 and 147±38 metric tons, respectively, while

      in 2016 and 2017, after the crisis the means were 187±38 and 155±38 metric tons,

      respectively. A t-test indicated that total mass of biosolids were statistically lower

      during 2012-2013 compared to 2016-2017, p-value=0.003839. This contradicts the

      statement that the quantity of biomass stabilizing to precrisis levels.




                                                27
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77950 Filed 05/19/23 Page 31 of 41




            Roy et al. (2019) figure 3 compares the %EBL5 (percent of blood leads

      exceeding 5µg/dL) across several time periods, but did so in a fashion that can easily

      be misinterpreted, since it does not group the samples by the same season. There is

      a known seasonal                          blood levels, with EBL being higher in

      summer months than at other times of the year. (www.michigan.gov/mdhhs/-

      /media/Project/Websites/mdhhs/Folder2/Folder92/Folder1/Folder192/BLLs_in_Fli

      ntNORdactions.pdf?rev=1fbff8d1cf694bcb4bbf13b4e1816&hash=2113E07EBE8F

      0C69E2C0EA58BDDB39FD). Thus, plotting the five average %EBL5 values

      (labeled as Pre-FWC) Nov 2012-Apr 2014, except Jul-Sept 2013), FWC (May 2014-

      Oct 2015, except Jul-Sept 2014), Pre FWC (Jul-Sep 2013), FWC (Jul-Sep 2014) and

      Post-FWC (Nov 2015-April 2017), which includes two data points with just summer

      levels, two data points that include only fall through spring, and one data point that

      encompasses 18 consecutive months, against the corresponding average Biosolids-

      Pb does not provide a fair visual comparison. The text does correctly compare July

      September 2013 to July-September 2014 and the authors state for that time period

      the %EBL was doubled, but the other %EBL should not be directly compared as the

      seasonal and population confounders are not accounted for.

            The Roy et al. (2019) and Roy and Edwards (2020) papers novel hypothesis

      used to estimate WLL90 in Flint based on monthly biosolids mass and lead content

      has multiple major flaws as described above. These flaws resulted in an inaccurate

                                               28
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77951 Filed 05/19/23 Page 32 of 41




      estimate of the Flint WLL90 levels and the Flint non-plumbing lead contribution to

      the biosolid-Pb levels. That said, the Roy et al. (2019) paper still states After the

      switchback in October 2015, the official lead in water data started meeting federal

                             . This recognition that the WLL declined after the switchback

      in October 2015 implies that the          corrosivity in 2015 was elevating the WLL

      compared to that after the water switchback and individuals who ingested Flint water

      prior to the switchback had a higher lead exposure b

      in 2015. Based on WLL measurements the authors and their colleagues from

      Virginia Tech made in August 2015, the Virginia Tech group issued a warning in

      September/October 2015 not to consume Flint water and recommended that the Flint

      River not be used as a water source and a corrosive inhibitor be added to the water

      system         (http://flintwaterstudy.org/information-for-flint-residents/results-for-

      citizen-testing-for-lead-300-kits/).

            Roy and his colleagues have published multiple papers discussing the role of

      water corrosivity in Flint and on WLL, for example: The absence of corrosion



      (Pieper et al. (2018)) When switching to treated Flint River water, city officials did




      these protective layers, lead-bearing plumbing was in contact with the corrosive Flint

                                               29
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77952 Filed 05/19/23 Page 33 of 41




      (Pieper et al. (2019)),      In contrast, the switch to Flint River water (with high

      chloride levels) and interruption of orthophosphate corrosion inhibitor dosing in

      Flint triggered the FWC. After switching back to Lake Huron water after the

      problems were acknowledged, the orthophosphate dose was tripled (compared to

      finished water received from Detroit) resulting in drastically reduced lead levels in

      Flint                        (2019)). Thus, Roy and his colleagues agree with my

      opinion that the corrosivity of the Flint water after the change-over caused lead to

      be released from lead and galvanized service lines and indoor plumbing and that lead

      release continued until water conditions stabilized following the water source being

      changed back to Lake Huron and the addition of anti-corrosion agents in October

      2015.


         8. Response to Dr. Greenberg

              Dr. Greenberg indicates that my opinions are flawed and misleading because

      I failed to apply quantitation to the concept of exposure . I did not provide a specific

      quantitation of exposure for any individual household in Flint in my declaration as I

      understood that an individual evaluation of specific exposure to individual residents

      is not at issue in addressing the general questions that have been certified by the

      Court for class litigation. Rather, my charge was to determine if there was an

      increase in lead exposure from consuming water in Flint because of the increased

                                                30
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77953 Filed 05/19/23 Page 34 of 41




      corrosivity due to the change in water source on April 25, 2014 and, if so, whether

      that increase persisted through October 2015. I evaluated the water lead levels

      available before, during and after this period and the principles that govern lead

      release into water from service lines and plumbing due to the corrosivity of the water

      and determined that additional lead would be present in the water due to the change

      in water source over the time period of interest.




            Dr. Greenberg states that he fails to define the factors that may eliminate or

      limit exposure to any given individual or group of individuals. I clearly state in my

      declaration that individuals needed to ingest water from homes, recreational

      facilities, workplaces, restaurants, and/or schools which had a service line or indoor

      plumbing fixtures that contained lead. The lead in the service lines and plumbing

      fixtures would leach into the water due to                        . Ingestion of such

      water would lead to increased lead exposure, provided that the water was not filtered

      to remove the lead. Individuals who did not ingest the water would not be exposed.

                                               31
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77954 Filed 05/19/23 Page 35 of 41




                                           [t]he potential for exposure in this matter is

      heterogeneous across the population of Flint and Dr. Weisel does not acknowledge

                                                                                varied both

      temporally and spatially across Flint and therefore the exposure to the population is

      not uniform. I further indicated that it is necessary for the water to be consumed and

      the amount of water or foods prepared with the contaminated water will affect the

      exposure, indicating that the exposure is heterogeneous across the population of

      Flint.

               In summary, the corrosivity of Flint water continued to be present until the

      water source was changed back to Lake Huron water and additional ortho-phosphate

      was added after October 2015. This resulted in increased water lead levels as

      evidenced by the higher values measured in August 2015, prior to the change back,

      compared to March 2016 after the change back. Even after March 2016, additional

      time was needed before the WLL were stabilized at a lower value and a policy to

      replace lead service lines in the community of Flint was enacted to further decrease

      the water lead levels in homes. Thus, residents who consumed Flint water between

      April through October 2015, and even beyond that date, had higher lead exposure

      than they would have had if the original switch had not been made in April 2014 or

      if the switch back to Lake Huron-sourced water with the addition of ortho-phosphate

      as a corrosive inhibitor had occurred earlier.

                                                32
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77955 Filed 05/19/23 Page 36 of 41
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77956 Filed 05/19/23 Page 37 of 41




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                                             35
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77958 Filed 05/19/23 Page 39 of 41




                        EXHIBIT 1
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77959 Filed 05/19/23 Page 40 of 41
Case 5:16-cv-10444-JEL-EAS ECF No. 2455-4, PageID.77960 Filed 05/19/23 Page 41 of 41
